Case 20-20425-GLT         Doc 181
                               Filed 08/27/20 Entered 08/27/20 14:06:13 Desc Main
                              Document     Page 1 of 34               FILED
                                                                      8/27/20 1:39 pm
                                                                      CLERK
                    IN THE UNITED STATES BANKRUPTCY COURT             U.S. BANKRUPTCY
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA           COURT - :'3$


  IN RE:                                             Bankruptcy No. 20-20425-GLT

  VIDEOMINING CORPORATION,                           Chapter 11

  Debtor.                                            Document No. ____

                                                                           179 113
                                                     Related to Doc. Nos. 102,

     STIPULATION AND CONSENT ORDER (1) MODIFYING AND EXTENDING
    ORDERS AUTHORIZING DIP FINANCING AND USE OF CASH COLLATERAL
        AND (2) AUTHORIZING AMENDMENT OF DIP LOAN DOCUMENTS

        Upon the agreement and stipulation of Enterprise Bank (“Enterprise”), White Oak Business

 Capital, Inc. (“White Oak”), the Internal Revenue Service of the United States (“IRS”), and the

 above-captioned Debtor (collectively, the “Parties”), by and through their undersigned counsel, to

 the terms and conditions set forth in this Stipulation and Consent Order (this “Consent Order”);

 and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and

 venue being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; the Court finding that

 due notice and such opportunity for a hearing as is appropriate under the circumstances has

 occurred and that no further notice to any party in interest is required; and this matter being a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and after due deliberation and good and sufficient

 cause appearing therefor;

        IT IS hereby STIPULATED, AGREED, and ORDERED as follows:

        1.      Pursuant to the terms of the Final Order Authorizing Use of Cash Collateral

 Through May 8, 2020 entered by the Court on March 12, 2020 (ECF No. 102) (the “Final Cash

 Collateral Order”) and the Modified Final Order Authorizing Debtor to Obtain Post-Petition

 Financing entered by the Court on March 19, 2020 (ECF No. 113) (the “Final DIP Order” and

 together with the Final Cash Collateral Order, the “Orders”), if the Debtor failed to enter into a
Case 20-20425-GLT          Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13             Desc Main
                                      Document     Page 2 of 34


 bona fide sales agreement for substantially all of its assets on or before August 21, 2020, the

 Maturity Date would trigger under the Final DIP Order, which, among other consequences, would

 require the Debtor to conduct an auction of its patent assets by September 30, 2020. See Final DIP

 Order at ¶ 10(g); Final Cash Collateral Order at ¶ 10.

         2.      The Broker (as defined in the Final Cash Collateral Order) has represented to the

 Parties that it has identified several potential purchasers for the Debtor’s assets, but that entering

 into a bona fide sales agreement by the August 21, 2020 deadline is not reasonably practicable

 under the circumstances.

         3.      The Parties have agreed to modify and extend the Orders under the terms and

 conditions set forth in this Consent Order.

         4.      Additionally, the Parties have agreed that the maximum financing available to the

 Debtor under the DIP Loan (as defined in the Final DIP Order) should be increased from

 $175,000.00 to $210,000.00.

         5.      Paragraph 10 of the Final Cash Collateral Order shall be deleted and amended and

 restated to read in its entirety as follows:

         “Pursuant to a further Order of the Court, the Debtor shall:

                 (a)     have received at least one (1) initial bid (in whatever and the same

                         form received, e.g., letter of intent or expression of interest,

                         proposed purchase agreement, term sheet, etc.) containing the

                         Acceptable Sale Conditions on or before September 15, 2020;

                 (b)     have entered into a binding asset purchase agreement providing for

                         the Acceptable Sale Conditions on or before October 1, 2020; and

                 (c)     have consummated a sale meeting the Acceptable Sale Conditions

                         on or before November 1, 2020.



                                                   2
Case 20-20425-GLT        Doc 181    Filed 08/27/20 Entered 08/27/20 14:06:13              Desc Main
                                   Document     Page 3 of 34


                (d)    In the event the Debtor fails to comply with any of the requirements

                       set forth in subsections (a), (b) or (c) hereinabove, the Debtor will

                       immediately commence and conduct an auction process for its

                       patent assets which auction shall occur on or before November 30,

                       2020, with a reputable broker who regularly conducts auctions of

                       assets similar to the Debtor’s patents and is acceptable to White Oak

                       and Enterprise.

                (e)    No later than August 1, 2020, the Debtor shall present to White Oak

                       and Enterprise a description of the auction process for their review

                       and consideration.

                (f)    White Oak and Enterprise reserve their right to object to any such

                       sale. The rights, defenses and objections of all parties are

                       specifically preserved in full with respect to the final DIP order, the

                       value of the Debtor’s assets, the approval of a sale process and

                       auction process, and all terms and conditions of the same including

                       whether to provide DIP financing or agree to the relief requested in

                       such motions, or not.

 For purposes of this paragraph 10, “Acceptable Sale Conditions” is defined to mean a bona fide

 document from a third-party providing for the purchase of some or all of Debtor’s assets, the

 consideration of which shall be sufficient to pay in full the claims of White Oak and Enterprise,

 including the claims of Enterprise in its capacity as the post-petition lender pursuant to the DIP




                                                 3
Case 20-20425-GLT        Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13             Desc Main
                                    Document     Page 4 of 34


 Orders, and any other lienholder having a lien superior to White Oak and Enterprise on the assets

 being sold.”

        6.      A new Paragraph 11 shall be added to the Final Cash Collateral Order as follows:

 “(11) The Debtor will provide the Parties with all initial bid documents (in whatever and the same

 form received, e.g., letter of intent or expression of interest, proposed purchase agreement, term

 sheet, etc.) within two (2) Business Days of receipt. Once a bid is selected and the Debtor and the

 proposed purchaser(s) are engaged in negotiations toward a final asset purchase agreement, the

 Debtor will provide the Parties with the original draft of such agreement and the Debtor’s first

 mark up and response to it. After receipt of the first mark up and response to the purchase

 agreement, the Debtor will provide the Parties with electronic mail status reports on the

 negotiations on Tuesday and Friday of each week. The Debtor will supply the Parties with the

 final version of the APA at least two (2) Business Days prior to filing it with the Court.”

        7.      The sixth sentence of paragraph 1 of the Final Cash Collateral Order (which

 currently reads: “Said authorization shall be valid through and including May 8, 2020.”) is

 amended and restated in its entirety as follows:

                “The authorization of such variance will be valid through and including the

                end date of any then current Budget authorized by the Court or agreed to

                under the terms of this paragraph.”

        8.      Paragraph 10(g) of the Final DIP Order is hereby modified so that the reference to

 “August 21, 2020” is deleted and replaced with “October 1, 2020”.

        9.      The Final DIP Order is hereby modified so that all references to “$175,000” are

 deleted and replaced with “$210,000.”

        10.     The Debtor and Enterprise are hereby authorized to take such actions that are

 reasonably necessary to effectuate the increase in the maximum amount of the DIP Loans from



                                                    4
Case 20-20425-GLT         Doc 181    Filed 08/27/20 Entered 08/27/20 14:06:13               Desc Main
                                    Document     Page 5 of 34


 $175,000 to $210,000, including, without limitation, amending, restating, supplementing, or

 otherwise modifying the existing DIP Loan Documents and executing new loan documents, in

 substantially the form attached to this Order as Exhibit A.

        11.     All references to the “DIP Loan Documents” in the Final DIP Order will be deemed

 to include all new loan documents executed, and all documents amended, restated, supplemented,

 or otherwise modified, pursuant to paragraph 10 of this Stipulation and Consent Order. Any

 provision in the new or amended DIP Loan Documents which relates to the Debtor's insolvency

 or bankruptcy as an event of default is hereby stricken. Notwithstanding anything to the contrary

 in the new or amended DIP Loan Documents, the DIP Lender may not confess judgment against

 the Debtor upon the occurrence of an Event of Default without first seeking authority from the

 Court; provided, however, there is nothing in this Stipulation and Consent Order or elsewhere that

 restricts or limits the DIP Lender's rights or remedies against the Guarantors upon the occurrence

 of an Event of Default, including, without limitation, the DIP Lender's right to confess judgment

 jointly and severally against the Guarantors.

        12.     The Parties acknowledge and agree that, in accordance with the terms of paragraphs

 1 and 17 of the Final Cash Collateral Order, the Debtor has timely provided all rolling 13-week

 cash flow budgets for the period ending on September 21, 2020, and that the form and substance

 of each such budget has been agreed to by Enterprise, White Oak, and IRS.

        13.     A copy of the current cash flow budget through September 21, 2020, which has

 been agreed to by Enterprise, White Oak, and IRS, is attached to this Order as Exhibit B.

        14.     As of the entry of this Consent Order, White Oak has twice notified the Debtor and

 all parties-in-interest of the occurrence of alleged Events of Default under the Final Cash Collateral

 Order, although White Oak did not seek to exercise any of its rights or remedies under the Cash

 Collateral Orders (the “Default Notices”). White Oak also provided four notices to Enterprise and



                                                   5
Case 20-20425-GLT         Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13                Desc Main
                                     Document     Page 6 of 34


 all parties in interest that the Debtor has failed to comply with the terms of the Final Cash Collateral

 Order, but in those notices White Oak has not notified Enterprise of an Event of Default (the

 “Failure Notices”). White Oak filed one of the Default Notices with the Court, but it elected not

 to file the other Default Notice or any of the Failure Notices with the Court. In all of its notices

 White Oak has reserved its rights and remedies. By entering into this Consent Order White Oak is

 not waiving any alleged Events of Default or breaches of the terms of the Final Cash Collateral

 Order and continues to reserve all of its rights and remedies (as provided in paragraph 17 below).

         15.     As of the entry of this Consent Order, neither White Oak nor Enterprise have

 terminated the Debtor’s authority to use Cash Collateral under the Final Cash Collateral Order,

 Final DIP Order, or the DIP Loan Documents.

         16.     Except as expressly modified hereby, all terms and conditions of the Orders remain

 in full force and effect. Capitalized terms not otherwise defined in this Stipulation and Consent

 order shall have the meanings ascribed to such terms in the Orders.

         17.     Except as expressly provided in this Consent Order, nothing herein waives,

 prejudices, or otherwise affects the rights and remedies of the Parties, whether under the

 Bankruptcy Code, applicable non-bankruptcy law, the Orders, the DIP Loan Documents, at law or

 in equity, or otherwise, and all such rights and remedies are hereby reserved.

  CONSENTED AND AGREED TO:                              CONSENTED AND AGREED TO:


  /s/ Ryan Cooney______________________                 /s/ William E. Kelleher, Jr.__________
  Ryan J. Cooney                                        William E. Kelleher, Jr.
  (PA ID No. 319213)                                    (PA ID No. 30747)
  223 Fourth Avenue, 4th Fl.                            Thomas D. Maxson
  Pittsburgh, PA 15222                                  (PA ID No. 63207)
  Phone: (412) 392-0330                                 Daniel P. Branagan
  Fax: (412) 392-0335                                   (PA ID No. 324607)
  rcooney@lampllaw.com
                                                        DENTONS COHEN & GRIGSBY P.C.
  Dated: August 25, 2020                                625 Liberty Avenue
                                                        Pittsburgh, PA 15222-3152


                                                    6
Case 20-20425-GLT   Doc 181    Filed 08/27/20 Entered 08/27/20 14:06:13    Desc Main
                              Document     Page 7 of 34


 Counsel for Debtor,                         Phone: (412) 297-4900
 VIDEOMINING CORPORATION                     Fax: (412) 209-0672
                                             bill.kelleher@dentons.com
                                             thomas.maxson@dentons.com
                                             daniel.branagan@dentons.com

                                             Dated: August 25, 2020

                                             Counsel for ENTERPRISE BANK

                       [Signatures continue on following page]




                                         7
Case 20-20425-GLT      Doc 181    Filed 08/27/20 Entered 08/27/20 14:06:13            Desc Main
                                 Document     Page 8 of 34



 CONSENTED AND AGREED TO:                           CONSENTED AND AGREED TO:

 /s/ Jill L. Locnikar____________________           /s/ Jeffrey M. Rosenthal_______________
 Jill L. Locnikar                                   Jeffrey M. Rosenthal
 Assistant U.S. Attorney                            MANDELBAUM SALSBURG P.C.
 Civil Division                                     3 Becker Farm Road
 Joseph F. Weis, Jr. United States Courthouse       Roseland, NJ 07068
 700 Grant Street, Suite 4000
 Pittsburgh, PA 15219                 George T. Snyder
 (412) 894-7429 (phone)               PA ID No. 53525
 (412) 644-6995 (fax)                 Stonecipher Law Firm
 jill.locnikar@usdoj.gov              125 1st Avenue
                                      Pittsburgh, PA 15222
 Dated: August 25, 2020               (412) 391-8510 (phone)
                                      (412) 391-8522 (fax)
 Counsel for INTERNAL REVENUE SERVICE gsnyder@stonecipherlaw.com
 OF THE UNITED STATES
                                      Dated: August 25, 2020

                                                    Counsel for WHITE        OAK    BUSINESS
                                                    CAPITAL, INC.




 SO ORDERED:

          August 27
 Dated: _________________ ___, 2020                 _______
                                                    _____________________________________
                                                         ______
                                                             _ ____
                                                                __________
                                                                        _ ____
                                                                           ______
                                                                               ____
                                                                                __ ___________
                                                    Gregoryy LL.. Taddonio
                                                    United States Bankruptcy Judge




                                                8
Case 20-20425-GLT   Doc 181    Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document     Page 9 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 10 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 11 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 12 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 13 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 14 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 15 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 16 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 17 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 18 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 19 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 20 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 21 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 22 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 23 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 24 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 25 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 26 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 27 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 28 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 29 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 30 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 31 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 32 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 33 of 34
Case 20-20425-GLT   Doc 181     Filed 08/27/20 Entered 08/27/20 14:06:13   Desc Main
                              Document      Page 34 of 34
